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                   $)),'$9,7,168332572)$1$33/,&$7,21)25$
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           Case 1:19-mj-07256-JCB Document 1-1 Filed 07/25/19 Page 2 of 4



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         Case 1:19-mj-07256-JCB Document 1-1 Filed 07/25/19 Page 3 of 4



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